    2:18-mn-02873-RMG          Date Filed 08/01/22      Entry Number 2514         Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


      IN RE: AQUEOUS FILM-                               MDL No. 2:18-mn-2873-RMG
      FORMING FOAMS PRODUCTS
      LIABILITY LITIGATION                       CASE MANAGEMENT ORDER NO. 19-D
                                                   This Document Relates to All Actions

   Fourth Amended Scheduling Order Governing First Water Provider Bellwether Trial

       This CMO 19-D amends the schedule set forth in CMO 19 for the Water Provider

Bellwether Trial Pool cases. Specifically, this CMO 19-D allows for some additional time for Tier

Two fact discovery and amends certain remaining deadlines accordingly. The resulting schedule

is as follows:

       1. Expert disclosures: Plaintiff shall submit its expert disclosures by March 18, 2022.
          Defendants shall submit their expert disclosures by April 29, 2022. Rebuttal expert
          reports shall be submitted by May 13, 2022.

       2. Expert discovery: The parties shall complete expert depositions by August 16, 2022.

       3. Summary judgment and Daubert motions: The parties shall file motions for summary
          judgment and Daubert motions by September 9, 2022. Response in opposition briefs
          shall be filed October 21, 2022. Reply in support briefs shall be filed by November 4,
          2022.

       4. Recommendation of first bellwether case for trial: The parties shall meet and confer
          and, if in agreement, submit by November 11, 2022 the parties’ joint ranked
          preferences with supporting memoranda for the first bellwether trial. If the parties are
          not in agreement, however, each side shall file their recommendation with supporting
          memoranda on or before the same date.

       5. Designation of first bellwether case for trial: The Court will designate the first
          bellwether case for trial by December 9, 2022.

       6. Pretrial motions: The parties shall file pretrial motions and motions in limine by
          February 6, 2023. Response in opposition briefs shall be filed by February 13, 2023.

       7. Pretrial disclosures: The parties shall file and exchange Fed. R. Civ. P. 26(a)(3)
          pretrial disclosures twenty-one (21) days prior to the date of jury selection. Within
          fourteen (14) days thereafter, a party shall file and exchange Rule 26(a)(3) objections,
   2:18-mn-02873-RMG           Date Filed 08/01/22       Entry Number 2514          Page 2 of 2




          any objections of a deposition designation by another party, and any deposition
          counter-designations, pursuant to Rule 32(a)(4).

       8. Pretrial briefs: The parties shall furnish the Court with and serve their pretrial briefs
          ten (10) business days prior to the date of jury selection (Local Civil Rule 26.05). At
          least five (5) business days prior to this deadline to submit pretrial briefs, counsel
          shall meet to exchange and mark all exhibits (Local Civil Rule 26.07).

       9. Trial: This case is subject to being called for jury selection and/or trial on or after
          April 1, 2023.

       AND IT IS SO ORDERED.
                                                                      s/ Richard Mark Gergel
                                                                      Richard Mark Gergel
                                                                      United States District Judge

August 1, 2022
Charleston, South Carolina
